           IN THE UNITED STATES DISTRICT COURT
      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                   CHARLOTTE DIVISION
                       3:19-CV-00624

DAVID DUVALL,                          )

      Plaintiff,                       )

v.                                     )
                                       )
NOVANT HEALTH, INC.                    )
                                       )
      Defendant.                       )



 PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT


      Plaintiff, through counsel and pursuant to Rule 56(a) of the Federal

Rules of Civil Procedure, moves for partial summary judgment on his First

and Third Claims for Relief. For the reasons set out in his Brief and based

upon the portions of the record submitted, there are no triable issues of

material fact as to Defendant’s liability under Title VII or under North

Carolina law of wrongful discharge in violation of the public policy set out

in N.C.G.S. 143-422.2.




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     Respectfully submitted this 21st day of September, 2020.


                            /s/ S. Luke Largess
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                            Attorney for the Plaintiff




                     CERTIFICATE OF SERVICE

     I certify that I have served the foregoing Document upon Defendant
through the ECF system


     This is the 21st day of September, 2020.


                            /s/ S. Luke Largess
                            S. Luke Largess

                            Attorney for the Plaintiff




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